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 6
 7
 8                     IN THE UNITED STATES DISTRICT COURT
 9                    FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,          )   CASE NO. CR-S-08-468 MCE
                                        )
12                     Plaintiff,       )   GOVERNMENT’S MOTION TO DISMISS
                                        )   COUNT 14 OF THE INDICTMENT AND
13   v.                                 )   ORDER
                                        )
14   MARIA SANTA, et al,                )
                                        )
15                     Defendants.      )
                                        )
16
17        Pursuant to Rule 48(a) of the Federal Rules of Criminal
18 Procedure, plaintiff United States of America, by and through its
19 ///
20 ///
21 ///
22 ///
23 ///
24 ///
25 ///
26 ///
27 ///
28 ///
          Case 2:08-cr-00468-KJM Document 81 Filed 05/07/10 Page 2 of 2


 1 undersigned attorney, hereby moves this Honorable Court for an
 2 Order dismissing Count 14 of the Indictment in the above-entitled
 3 matter as to both defendants charged in that count, MARIA SANTA and
 4 VIRGIL SANTA.
 5 DATED: May 4, 2010
 6                                         BENJAMIN B. WAGNER
                                           United States Attorney
 7
 8                                   By:    /s/ Matthew C. Stegman
                                           MATTHEW C. STEGMAN
 9                                         Assistant U.S. Attorney
10
11
12                                    O R D E R
13
14       IT IS SO ORDERED:
15
     Dated: May 6, 2010
16
17                                      _____________________________
18                                      MORRISON C. ENGLAND, JR.
                                        UNITED STATES DISTRICT JUDGE
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